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 6
 7                                 UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF ARIZONA
 9
                                                            Case No.
10
     THOMAS JAURIGUE,                                       COMPLAINT FOR BENEFITS
11                                                          UNDER AN EMPLOYEE
                     Plaintiff,                             WELFARE BENEFIT PLAN
12
            v.
13
     AETNA LIFE INSURANCE COMPANY;
14   THERMO FLUIDS, INC. and THERMO
     FLUIDS, INC. LONG TERM DISABILITY
15   PLAN,
16                   Defendants.
17
18          Now comes the Plaintiff, Thomas Jaurigue (hereinafter referred to as “Plaintiff”), by
19   and through his attorney, Scott E. Davis, and complaining against the Defendants, Aetna
20   Life Insurance Company, Thermo Fluids, Inc. and Thermo Fluids, Inc. Long Term
21   Disability Plan, he states:
22                                           Jurisdiction
23          1.       Jurisdiction of the court is based upon the Employee Retirement Income
24   Security Act of 1974 (ERISA); and in particular, 29 U.S.C. §§1132(e)(1) and 1132(f).
25   Those provisions give the district court jurisdiction to hear civil actions brought to recover
26   employee benefits. In addition, this action may be brought before this Court pursuant to 28
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 1   U.S.C. §1331, which gives the Court jurisdiction over actions that arise under the laws of
 2   the United States.
 3                                                 Parties
 4          2.        At all times relevant to this action, Plaintiff was a resident of Maricopa
 5   County, Arizona.
 6          3.        Upon information and belief, Thermo Fluids, Inc. (hereinafter referred to as
 7   the “Company”) sponsored, administered and purchased a group long-term disability
 8   insurance policy (hereinafter referred to as the "Policy") which was issued and fully insured
 9   by Aetna Life Insurance Company (hereinafter referred to as “AETNA”). The specific
10   group disability policy is known as Group Policy No.: GP-604471-GI. The Company’s
11   purpose in sponsoring the Policy was to provide disability insurance for its employees,
12   including Plaintiff.
13          4.        Upon information and belief, the Policy may have been included in and part
14   of an employee benefit plan, specifically named the Thermo Fluids, Inc. Welfare Plan
15   (hereinafter referred to as the “Plan”), which may have been created to provide the
16   Company’s employees with welfare benefits.
17          5.        At all times relevant hereto, the Plan constituted an “employee welfare
18   benefit plan” as defined by 29 U.S.C. §1002(1).
19          6.        Upon information and belief, AETNA functioned as the claim administrator
20   of the Policy.
21          7.        AETNA operated under a financial conflict of interest in evaluating Plaintiff’s
22   long-term disability claim due to the fact that it operated in dual roles as the decision maker
23   with regard to whether Plaintiff was disabled and entitled to benefits, as well as the payor of
24   benefits if it concluded Plaintiff was disabled.
25          8.        AETNA’s conflict of interest existed in that if it found Plaintiff was disabled,
26   it was then financially liable for the payment of his disability benefits.
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 1          9.       If AETNA concluded that Plaintiff was not disabled and entitled to benefits, it
 2   directly benefited by saving money that it otherwise would have had to pay Plaintiff had it
 3   concluded he was disabled.
 4          10.      The Company, AETNA, and the Plan conduct business within Maricopa
 5   County and all events giving rise to this Complaint occurred within Arizona.
 6                                               Venue
 7          11.      Venue is proper in this district pursuant to 29 U.S.C. §1132(e)(2) and 28
 8   U.S.C. §1391.
 9                                          Nature of the Complaint
10          12.      Incident to his employment, Plaintiff was a covered employee pursuant to
11   the Plan and the relevant Policy and a “participant” as defined by 29 U.S.C. §1002(7).
12   Plaintiff seeks disability income benefits from the Plan and the relevant Policy pursuant to
13   §502(a)(1)(B) of ERISA, 29 U.S.C. §1132(a)(1)(B), as well as any other non-disability
14   employee benefits he may be entitled to from the Plan, any other Company Plan and/or the
15   Company as a result of being found disabled in this action.
16          13.      After working for the Company as a loyal employee in the position of a Truck
17   Driver, Plaintiff became disabled from working in any occupation on or about November
18   15, 2013, and remained continuously disabled from working in any occupation through on
19   or about August 14, 2016 (i.e. the date Plaintiff returned to work), due to his serious and
20   disabling medical conditions.
21          14.      Following the onset of his disability, Plaintiff filed a claim for long-term
22   disability benefits under the relevant Policy which was administered by AETNA.
23          15.      AETNA made every decision in Plaintiff’s claim regarding whether Plaintiff
24   was disabled pursuant to the Policy’s definition of disability and entitled to long-term
25   disability benefits.
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 1             16.   Upon information and belief, the relevant AETNA Policy and definitions of
 2   disability governing Plaintiff’s long-term disability claim are as follows:
 3                   “Test of Disability: From the date that you first became disabled and
 4                   until monthly benefits are payable for 24 months you meet the test of
                     disability on any day that:
 5
                         1. You cannot perform the material duties of your own
 6                          occupation solely because of an illness, injury or disabling
                            pregnancy-related condition; and
 7
                         2. Your earnings are 80% or less of your adjusted pre-disability
 8                          earnings.

 9                   After the first 24 months of your disability that monthly benefits are
                     payable, you meet the plan’s test of disability on any day you are
10                   unable to work at any reasonable occupation solely because of an
                     illness, injury or disabling pregnancy-related condition.”
11
               17.   In support of his claim for long-term disability benefits, Plaintiff submitted to
12
     AETNA medical evidence which supported his allegation that he met any definition of
13
     disability as defined in the relevant Policy.
14
               18.   AETNA approved Plaintiff’s long-term disability claim and paid his disability
15
     benefits for the 24 month “Own Occupation” period as defined in the Policy, or through
16
     February 12, 2016.
17
               19.   Following the “Own Occupation” period, AETNA then conducted a review to
18
     determine whether Plaintiff met the “Any Occupation” definition of disability in the LTD
19
     Policy.
20
               20.   Following its “Any Occupation” definition of disability review, AETNA
21
     erroneously terminated Plaintiff’s disability claim and his benefits without any medical
22
     documentation to support its allegation that Plaintiff’s medical conditions had improved in
23
     such a way that he could return to work in any occupation.
24
               21.   In a letter dated September 9, 2015, AETNA informed Plaintiff it was
25
     terminating his long-term disability benefits beyond February 12, 2016.
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 1          22.     Pursuant to 29 U.S.C. §1133, Plaintiff timely appealed AETNA’s September
 2   9, 2015 termination of his benefits and submitted additional medical and vocational
 3   evidence supporting his appeal, as well as his allegation that he was disabled and met any
 4   and all definitions of disability in the Policy, including the “Any Occupation” definition.
 5   This information submitted to AETNA included, but is not limited to, the following:
 6          23.     Plaintiff submitted to AETNA an October 28, 2014 operative report
 7   documenting his left knee arthroscopy with partial lateral meniscectomy and chondroplasty.
 8   The post-operative diagnoses included degenerative joint disease of both knees right greater
 9   than left, chondrocalcinosis and medial meniscus tear of the left knee, and bone marrow
10   edema involving the medial femoral condyle and medial tibial plateau of the left knee.
11          24.     Further supporting his claim, Plaintiff submitted a November 23, 2015 CT
12   scan of his lumbar spine documenting disc space narrowing at essentially all levels with
13   vacuum disc phenomenon seen at L4-L5, and multilevel endplate Schmorl’s nodes.
14   Circumferential disc bulges were also seen at multiple levels, most pronounced at L3-L4
15   and L4-L5. There were varying degrees of foraminal stenosis, most pronounced at L4-L5 on
16   the left, with mild to moderate multilevel spinal canal stenosis noted.
17          25.     Plaintiff also submitted to AETNA an April 10, 2015 Capabilities and
18   Limitations Worksheet completed by Plaintiff’s physician assistant wherein his physician
19   assistant concluded that Plaintiff had a Class 5 impairment, which is a “severe limitation of
20   functional capacity/incapable of sedentary work.”
21          26.     The Capabilities and Limitations Worksheet completed by Plaintiff’s
22   physician assistant was sufficient to document and prove that Plaintiff met the “Any
23   Occupation” definition of disability and was entitled to long-term disability benefits as set
24   forth in the Policy.
25          27.     Further supporting his claim, Plaintiff submitted a January 8, 2016
26   questionnaire completed by his treating physician wherein his treating physician disagreed
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 1   with AETNA’s allegation that Plaintiff could return to work in a sedentary occupation as of
 2   February 13, 2016. Plaintiff’s treating physician also opined that Plaintiff’s back conditions
 3   had not changed since May 2015.
 4            28.    Plaintiff also submitted updated medical records from each of his treating
 5   providers and a list of his current medications, all of which documented Plaintiff’s inability
 6   to work in any occupation or in any work environment.
 7            29.    As part of its review of Plaintiff’s claim for long-term disability benefits,
 8   AETNA obtained one (1) medical records only “paper review” of Plaintiff’s claim from a
 9   physician of its choosing, as well as one (1) medical records only “paper review” of
10   Plaintiff’s claim from a nurse of its choosing.
11            30.    AETNA did not disclose to Plaintiff, in either its September 9, 2015 denial
12   letter or its June 3, 2016 denial letter, the names of the medical personnel who reviewed his
13   claim.
14            31.    AETNA’s failure to provide Plaintiff and his treating medical professionals
15   with its reviewing medical professionals’ reports before issuing its final denial is not the
16   action of an un-conflicted fiduciary, because it precluded a “full and fair” review pursuant to
17   ERISA.
18            32.    AETNA’s failure to provide its own medical professionals’ reports to Plaintiff
19   precluded him from curing any alleged deficiencies that AETNA believed existed in his
20   claim and at a time when it mattered pursuant to Ninth Circuit law, before AETNA rendered
21   its final denial.
22            33.    The deficiencies in Plaintiff’s claim that AETNA’s alleged existed in its final
23   denial are not inconsequential; AETNA relied on its own medical professionals’ opinions
24   and rationales to deny his claim.
25            34.    AETNA’s failure to act as Plaintiff’s fiduciary by not providing its medical
26   professionals’ reports to Plaintiff during his appeal and at a time when it mattered, before it
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 1   rendered a final denial in his claim precluded and denied him the opportunity to perfect and
 2   prove his claim pursuant to ERISA and Ninth Circuit case law.
 3          35.    AETNA’s failure to provide Plaintiff and his treating medical professionals
 4   with the opportunity to respond to its medical professionals’ reports is an ERISA procedural
 5   violation, and precluded AETNA from providing Plaintiff with a “full and fair” review as
 6   required by ERISA. AETNA’s actions also violated Ninth Circuit case law as held in
 7   Salomaa v. Honda Long Term Disability Plan, 642 F.3d 666, 680 (9th Cir. 2011):
 8        “The plan evidently based its denial in large part on review of Salomaa's file by two
          physicians, one for the first denial, another for the final denial. They both wrote
 9        their appraisals for the plan administrator. Yet the plan failed to furnish their letters
          to Salomaa or his lawyer. The regulation, quoted above, requires an ERISA plan to
10        furnish ‘all documents, records, and other information relevant for benefits to the
          claimant.’ A physician's evaluation provided to the plan administrator falls
11        squarely within this disclosure requirement” (bold and emphasis added).
12          36.    Upon information and belief, Plaintiff alleges the reviewing medical
13   personnel may be longtime medical consultants for AETNA and/or the disability insurance
14   industry, and the nurse may be an AETNA employee. As a result, Plaintiff alleges the
15   reviewing medical personnel may have incentives to protect their own consulting
16   relationships and/or employment with AETNA, and/or the disability insurance industry by
17   providing medical records only “paper reviews,” which selectively review or ignore
18   evidence such as what occurred in Plaintiff’s claim, in order to provide opinions and
19   report(s) which are favorable to disability insurance companies including AETNA, and that
20   allowed the denial of his claim.
21          37.    In a letter dated June 3, 2016, notwithstanding Plaintiff’s aforementioned
22   evidence which proved he met any definition of disability in the Policy including the “Any
23   Occupation” definition, AETNA notified Plaintiff it had denied his appeal and upheld its
24   previous decision to deny his claim for long-term disability benefits.
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 1             38.   In its denial letter dated June 3, 2016, AETNA notified Plaintiff he had
 2   exhausted his mandatory administrative levels of review and that he could file a civil action
 3   in federal court pursuant to ERISA.
 4             39.   AETNA’s June 3, 2016 denial letter is clear evidence that it breached the
 5   ERISA fiduciary duty it owed to him, that it failed to provide a full and fair review, and
 6   committed ERISA procedural violations that were specifically enacted to protect individuals
 7   seeking benefits such as the Plaintiff.
 8             40.   In evaluating Plaintiff’s claim on appeal, AETNA owed Plaintiff a fiduciary
 9   duty and had an obligation pursuant to ERISA to administer this duty, “solely in [his] best
10   interests and other participants” which it failed to do. 1
11             41.   AETNA’s ERISA violations include, but are not limited to, completely failing

12   to credit, reference, consider, and/or selectively review and de-emphasize most, if not all, of
13   Plaintiff’s reliable evidence which proved that he met the definition of disability in the
14   Policy.

15             42.   Plaintiff asserts AETNA provided an unlawful review which was neither full
16   nor fair and that violated ERISA, specifically 29 U.S.C. § 2560.503-1, by failing to have
17   Plaintiff’s claim reviewed by truly independent medical professionals; by failing to credit

18   Plaintiff’s reliable evidence; by failing to obtain an Independent Medical Examination or a
19   Functional Capacity Evaluation when the Policy allowed for one, which raises legitimate
20   questions about the thoroughness and accuracy of AETNA’s review and denials; by failing

21
     1
       ERISA sets forth a special standard of care upon a plan administrator, namely, that the
22   administrator “discharge [its] duties” in respect to discretionary claims processing “solely
     in the interests of the participants and beneficiaries” of the plan, § 1104(a)(1); it
23   simultaneously underscores the particular importance of accurate claims processing by
     insisting that administrators “provide a ‘full and fair review’ of claim denials,” Firestone,
24   489 U.S., at 113, 109 S. Ct. 948, 103 L. Ed. 2d 80 (quoting § 1133(2)); and it
     supplements marketplace and regulatory controls with judicial review of individual claim
25   denials, see § 1132(a)(1)(B). Metro. Life Ins. Co. v. Glenn, 128 S. Ct. 2343, 2350 (U.S.
     2008).
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 1   to credit Plaintiff’s reliable evidence; by providing biased and one sided reviews of
 2   Plaintiff’s claim that failed to consider all the evidence submitted by him and/or by de-
 3   emphasizing medical evidence which supported Plaintiff’s claim; by disregarding Plaintiff’s
 4   subjective and self-reported complaint/symptoms; by failing to consider all of Plaintiff’s
 5   medical conditions and the work limitations set forth in his medical evidence as well as the
 6   impact the combination of these medical conditions and limitations had on his ability to
 7   work in any occupation; and by failing to consider the impact the side effects from
 8   Plaintiff's medications would have on his ability to engage in any occupation.
 9          43.    Plaintiff asserts a reason AETNA provided an unlawful review which was
10   neither full nor fair and that violated ERISA, specifically 29 U.S.C. § 2560.503-1, is due to
11   its conflict of interest that manifested as a result of the dual roles AETNA undertook as the
12   decision maker and the payor of benefits.
13          44.    AETNA’s structural, financial conflict of interest provided it with a financial
14   incentive to deny Plaintiff’s claim.
15          45.    The standard of review for this Court to apply is de novo as the AETNA
16   Policy does not contain discretionary language.
17          46.    In denying his claim, Plaintiff alleges AETNA failed to provide a full and fair
18   review pursuant to ERISA, and that its denial of his claim is a de novo wrong decision.
19          47.    If the Court concludes the Policy confers discretion and the standard of
20   review is for abuse of discretion, Plaintiff alleges that AETNA’s decision, which resulted
21   from its unlawful ERISA violations as referenced herein, was unreasonable and constitutes
22   an abuse of discretion. For the reasons referenced herein, Plaintiff asserts that in denying his
23   claim AETNA did not provide a full and fair review as required by law and its violations of
24   ERISA are so flagrant they justify de novo review.
25          48.    As a direct result of AETNA’s decision to deny Plaintiff’s disability claim,
26   Plaintiff has been injured and suffered damages in the form of lost long-term disability
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 1   benefits, in addition to other potential non-disability employee benefits he may have been
 2   entitled to receive through or from the Plan, from any other Company Plan and/or the
 3   Company as a result of being found disabled. Plaintiff believes that other potential non-
 4   disability employee benefits may include but not be limited to, health and other insurance
 5   related coverage or benefits, retirement benefits or a pension, and life insurance coverage
 6   and/or the waiver of the premium on a life insurance policy providing coverage for him and
 7   his family/dependents.
 8         49.      Pursuant to 29 U.S.C. §1132, Plaintiff is entitled to recover unpaid
 9   disability and non-disability employee benefits, prejudgment interest, reasonable
10   attorney’s fees and costs from Defendants.
11         50.      Plaintiff is entitled to prejudgment interest at the legal rate pursuant to A.R.S.
12   §20-462, or at such other rate as is appropriate to compensate him for the losses he has
13   incurred as a result of Defendants’ nonpayment of benefits.
14         WHEREFORE, Plaintiff prays for judgment as follows:
15         A.       For an Order finding the evidence in Plaintiff’s claim is sufficient to prove
16   that he met the “Any Occupation” definition of disability set forth in the relevant Plan
17   and/or Policy from November 15, 2013 through August 14, 2016 (i.e. the date Plaintiff
18   returned to work), and that he is entitled to disability benefits, and any other non-
19   disability employee benefits he may be entitled to as a result of that Order, from the date
20   he was first denied these benefits through August 14, 2016 with prejudgment interest
21   thereon;
22         B.       For attorney’s fees and costs incurred as a result of prosecuting this suit
23   pursuant to 29 U.S.C. §1132(g); and
24         C.       For such other and further relief as the Court deems just and proper.
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                           DATED this 10th day of May, 2018.
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 2
                                 SCOTT E. DAVIS. P.C.
 3
                                 By:     /s/ Scott E. Davis
 4                                       Scott E. Davis
                                         Attorney for Plaintiff
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